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                   UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN
                        SOUTHERN DIVISION

GRAYSON-BEY,                      Case No. 19-cv-13588-NGE-DRG
                                  Hon. Nancy G. Edmunds
     Plaintiff,                   Mag. Judge David R. Grand
v.

SOUTHFIELD POLICE DEPARTMENT,
OFFICER MICHAEL WOJCIECHOWSKI,
OFFICER DAVID MOORE, and OFFICER
SWADE FOX,

     Defendants.

GRAYSON-BEY                       SEWARD HENDERSON PLLC
Plaintiff, Pro Se                 By: T. Joseph Seward (P35095)
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                         NOTICE OF APPEARANCE

TO: Clerk of the Court

     PLEASE ENTER the Appearance of the law firm, SEWARD HENDERSON

PLLC, by DAVID D. BURRESS, as attorneys for the Defendants, SOUTHFIELD

POLICE DEPARTMENT, OFFICER MICHAEL WOJCIECHOWSKI, OFFICER DAVID
Case 2:19-cv-13588-NGE-DRG ECF No. 11, PageID.32 Filed 02/17/20 Page 2 of 2




MOORE, and OFFICER SWADE FOX in the above entitled action.

                                  Respectfully submitted,

                                  SEWARD HENDERSON PLLC

                                  /s/ David D. Burress (P77525)
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Dated: February 17, 2020




                            PROOF OF SERVICE

      I hereby certify that on Monday, February 17, 2020, I electronically
filed the foregoing document with the Clerk of the court using the ECF
system, which will send notification to the following: All Parties and
Attorneys of Record.

                                  /s/ Alyssa Schwarcz
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